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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address


    Shiva Delrahim Beck (SBN 228841)
    Email: sbeck@gardere.com
    Todd A. Murray (Pro Hac Vice)
    Email: tmurray@gardere.com
    Thomas C. Scannell (Pro Hac Vice)
    Email: tscannell@gardere.com
    GARDERE WYNNE SEWELL LLP
    2021 McKinney Avenue, Suite 1600
    Dallas, Texas 75201
    (214) 999-3000
    (214) 999-4667 (fax)

         Individual appearing without an attorney
        Attorney for: William M. Aisenberg and Jeffrey Cordes

                                           UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA – SAN FERNANDO VALLEY DIVISION

    In re:                                                                      CASE NO.: 1:17-bk-12408-MB Jointly Administered with:
                                                                                                           1:17-bk-12409-MB
    ICPW Liquidation Corporation, a California corporation,
                                                                                CHAPTER: 11
               Debtor and Debtor in Possession.                                ________________________________________________

                                                                                NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
    In re:                                                                                               1
                                                                                CASE RE: (title of motion ):
    ICPW Liquidation Corporation, a Nevada corporation,                         JOINT STIPULATION RELATING TO DIRECTORS &
                                                                                OFFICERS INSURANCE POLICIES
               Debtor and Debtor in Possession.

     Affects both Debtors
        Affects ICPW Liquidation Corporation, a California
        corporation only

        Affects ICPW Liquidation Corporation, a Nevada
        corporation only


PLEASE TAKE NOTE that the order titled Order Approving Joint Stipulation Relating to Directors & Officers Insurance Policies


was lodged on (date) 12/07/2017 and is attached. This order relates to the stipulation which is docket number 300




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
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                             EXHIBIT A




                             EXHIBIT A
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  1 Shiva Delrahim Beck (SBN 228841)
    Email: sbeck@gardere.com
  2 Todd A. Murray (Pro Hac Vice)
    Email: tmurray@gardere.com
  3
    Thomas C. Scannell (Pro Hac Vice)
  4 Email: tscannell@gardere.com
    GARDERE WYNNE SEWELL LLP
  5 2021 McKinney Avenue, Suite 1600
    Dallas, Texas 75201
  6 (214) 999-3000
    (214) 999-4667 (fax)
  7

  8
      Attorneys for William M. Aisenberg and Jeffrey Cordes
  9

 10                                UNITED STATES BANKRUPTCY COURT
 11                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
 12                                  SAN FERNANDO VALLEY DIVISION
 13
                                                                    )     Lead Case No. 1:17-bk-12408-MB
 14 In re:                                                          )
    ICPW Liquidation Corporation, a California                      )     Jointly administered with: 1:17-bk-
 15 corporation,1
                                                                    )     12409-MB
 16              Debtor and Debtor in Possession.                   )
                                                                    )     Chapter 11 Cases
 17                                                                 )
                                                                    )   ORDER APPROVING JOINT
 18 In re:                                                          )   STIPULATION RELATING TO
                                                                    )   DIRECTORS & OFFICERS
 19 ICPW Liquidation Corporation, a Nevada                              INSURANCE POLICIES
                                                                    )
    corporation,2                                                   )
 20                                                                                        HEARING:
           Debtor and Debtor in Possession.                         )
 21                                                                 )
                                                                          DATE: December 12, 2017
                                                                    )
 22                                                                       TIME: 1:30 p.m.
                                                                    )
          X      Affects both Debtors                                     CTRM: 303
                                                                    )
 23                                                                          21041 Burbank Blvd.
                                                                    )
                 Affects ICPW Liquidation Corporation, a                     Woodland Hills, CA 91367
 24                                                                 )
                 California corporation only                        )
 25                                                                 )
                 Affects ICPW Liquidation Corporation, a            )
 26              Nevada corporation only                            )
 27                                                                 )
      1
 28       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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             1            The Court, having read and considered that certain Stipulation Relating to Directors &

             2 Officers Insurance Policy entered into by and among Jeffrey Cordes and William M.

             3 Aisenberg (collectively, “Insureds”), ICPW Liquidation Corporation, a California

             4 corporation, formerly known as Ironclad Performance Wear Corporation, a California

             5 corporation and ICPW Liquidation Corporation, a Nevada corporation, formerly known as

             6 Ironclad Performance Wear Corporation, a Nevada corporation (collectively, the “Debtors”)

             7 and the Official Committee of Equity Holders (“OCEH”) [Docket No. 300], and it appearing

             8 that the Court has jurisdiction over this matter, and based upon all of the proceedings had

             9 before the Court; after due deliberation, and good and sufficient cause appearing therefore,

           10             IT IS HEREBY ORDERED that the Stipulation is approved by the Court.

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